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EXhibit 1

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SHER[FF OF COOK COUNT`Y
COURT SERVIC,ES DEPARTMENT
USE OF FO.RCE REPORT

 

DATE?@{_ /"7/7`/“ 2593
TJME. /Q> 394

R);Pc)amc rsr-ncaa s NAME A*"‘-"/'//‘-J/f' C¢-’/Z’€=/“ / sma VF 22
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OC SPRAY OTHER {EXPLA[N)

 

PHYSICAL FURCE g BATON

 

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` wAs MBDICAL ATTENTroN REQUIRED'.> No YES_“__§_<__ BY wzaomg_;i€._

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1/_ _ M .
WATCHCOMMANDER/SUPERV!$OR‘$ S!GNATURE § §§ i ii if §§ d',@{ § P;’CQ_L_L LQ _

(CSD/GNGZ- I)

 

c.cSAO 0’0347

Ca$e: 1:10-Cv-O2953 Document #: 51-2 Filed: 10/21/11 Page 3 of 12 Page|D #:190

EXhibit 2

  

§ase: 1:10-C\/- 02953 Document #: 51- 2 Filed:10/21/11 Page 4 of 12 Page|D #: 191

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SHERIFE OF COOK COUNTY
'_COURT SERVICES DEPARTMENT
_ CFFENSE/INCIDEN-T .
SUPPLEMENTAL REP(_)RT
~ Oliginal CR Number: ` :
08- S l 2984
0_11ginal OB`ense/locident Class1t‘ canon Original UCR_Codc: ' Ori_ginal PAC C_odc:
Miscellaneous [n<’:1dent _ - 7280 9001
_ Rcclassifie_d as (` f apphcablc) 4 , Original 'chorting Oflicer: Star No:
‘ _ ' Aggr_avate`q B_attery to PIO ' 'D/S William _Wood_s _ 3471
' - ~ ~ ' su_PPLEMENTAL REPORTINFoRMATloN v
` 1 crew Co111pe1111gs11pp1e1_11¢111111 nean ' ' ' star No;
Sgt James Dillon ~_ , 1068
Datc Supplem¢utal Completcd: ~ Time Supplemcntal- Completcd; 1 PAC Ca_de: . Bcat of Oocurrenoe:
9 J'lme:O$' 1500 hr$ 200,1] `» " 999v
. l:]. Nan'a.tivc (Continued 11‘0111 original) ® Wimcs§ S!atémcnt

m Court Appearancc (Officer Notif`lcation)
m Couxt Appmrancc (Otl`¢cer Report)

g Victir`n Statement
I___l Othec:

 

 

~ DATE AND 'I`IME ASSIGNED:

vICTIM:_

` .1N CUSTODY;

ARRES_TED' BY;
' D.ATE T`rME LOCAHON 012 ARREST;

» CHARGES;

THIS IS A' CRIMINAL INTELLIGENCE UNIT INVESTIGA'I`ION

~ 28 May 2003 1700 hrs '

D/S wi111ia111 _Woods # 3471 M/B DOB 31 11117;1

. 2650 S Califomia Chgo, ll 60608 869-3275

Days off: S/S ,Du|§y hrs 0800- 1600 assignment CCB
D/S Todd Ramos # 2058 M/W DOB 19 Dec 71 '

2650 S. Cal1f0m1a Chgo_, II 60608 869-3275 .

Days off: S/S ,Duty hrs 0800~ 1600 assignment C_CB
D/S Michael Quinla_n # 5200 CCB M/W DOB 5 Sept 82
2650 S. California Chgo-,1160608 869- 3275

Days off: S_/S ,Du_t`y hrs 0800- 1600 assignment_ CCB

BROWN A'anand M/B DOB 4/4/78 IR# 1233039
126 Marshal St Jefferson City, MO 65101 4
CLAY, MarSha_F/B DOB 01/02/56 [R#. 365304
922 N Parkside Chgo, IL 60622

Sgt James'Dillon'# 1068 C.I.U773-869-4786
111v Richard Lesiak # 5000 C.-[.U 773-869_-4786

BROWN, An;wand, 29 May 03 1800 1115 CCSPD Maywood
CLAY, _Marsha,~30 May 08 1230 hrs Cook County H_ospital

 

 

 

 

 

BROWN, An;wand - 720 ILCS 5/12_4(11)(17)Agg Barcery
CLAY, Marsha - 720 I_LCS 5/12-4(b)(17) Agg Battery
cou_RT B'RAN‘CH AND DATES; 30 May 03 cBC 1301111 court
_ ` ' n ‘ ® Contii\ucd
Rep_orting Offlccr's Name (prinl): Re _rt`r\ s ` ature: St§r No; Date: '
' ' sgt Jame's 1)111011 §7£( %WL 1 1068 9 J1111e08
Supcrvisor`s Name (print): Su§ervi#'s Signnture: Slar No: Date:

 

 

 

(csD/GA/04-5) -

pbaau UU

 

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_Ori_g_inal CR Numbu'..

XX-XXXXXXX

 

 

 

INJURIES: 1 _ ' - ~ 4 D/S Todd Ramos- sprained back, trouble breathing .
-' 4 . D/S Michael Quinlan- contusion to neck area, bruising to
' Trachea, shortness of breath
D/S Jai'nes Di_stasio_ - left thumb sprain. -

TAKEN TO: ` 4 4 4‘ _ _ Mount Sinai Hospital
- _' ‘ f ' - 1500 S California Chicago, lL 60608
4 773-542- 1500 ' .

_. _ _ 4 Treated by Dr. J_ulia Frye, Dr_. Amarj_it Singh4 and
' 1 ~_ , v ' , Dr. _'l`aulina Kuchinic

LOCA'I`ION: " 1 4 _ . ` _ _265OSCaliforniaCr1m1nal Court Building
' ~ _, . . _ ` Chica`go, 1160608 Cour.t room 307

MANNER: - `4 4 _ 4 _ _ 1 , 'l`he offenders refused to- listen to Deputi_es in courtroom 307
. 7 ' 4 `4 and struck the deputies several times.

_ _ NOT[FICA'l`IONS: 1 . ’ . 4_ States Attomey’s Office, Felony Review Unit
4 . ' ‘ ' 4 ASA 'Ma_ureen Renno 28 May 0842010 Hrs, case CI l
- ASA Joe-Lattanzio approved.charge_s _29 May 08 l430hrs_

‘ _ PERsoNN'EL AssiGNED; 4 4 sg1J D111011- # 1068/nw 11 Lesiai<# 5000/ Dec ` P1yb011 #42-53

'. Wl'l~`_NESSES: ~ _ l - ` ASA Law clerk Andrew Muller 2650 S Calif_or_nia Chgo, ll
~ 773-230-0376 '
ASA Law clerk Christin'a Morrison- 2650 S C_alifo_mia Chgo
847- 370~3834
.D/S Jere_my Tucker 2650 S Califomia Chgo, ll _
773- 8_69- 3275
D/S Lynette Flowers 2650 S Califomia Chgo, 11
4 773- 869- 3275
D/Sgt Monica Morton 2650 S Cal4ifornia _Chgo_, lL
773~ 869- 3275
D/S Tawanda Wilson 2650 S Califomia Chgo, l_l
773 -_869- 3275
ASA Vicki Kennedy 2650 S Califomia Chgo, l_l 12C32 "
773- 869- 3371
_Circuit Court Judge Nicholas Ford 773-869-3275

IN`VEST[GATION: ****THIS REPORT SHOULD BE READ l`N C()NJ`.UCT[ON Wl'l`H A_ND AS A PA_RT OF

'. REPO.RTS COMl’LETED BY lNVESTIGA'l-`OR LES[AK AND DE'l` PLYBON*****

_ On 28 M`ay 08 at approx 1630 hrs R/Sgt was notified by Chief Of Courts Kelly Jackson to
' report to the Criminal Cour`ts Building for a fight which occurred in courtroom 307, there were 6 offenders in custody and
. ~ three Deputies in local hospitals lS Assistant Deputy Chief K Connelly was notified of the situation, Detective C Plybon
# 253 CCSPD and myself reported to 2650 S California Chicago, ll

To investigate the Aggravated Battery that occurred in courtroom 307 at approx 1700 hrs Inv Lesiak reported to Mt Sinai
Hospital for interviews.

- On 28 May 08 at approx 1700 hrs R/Sgt. interviewed ASA Vicki Kennedy who advised me of the following
information m summary and not verbatim ASA Kennedy was assigned to courtroom 307 on above date and that after a
finding of not guilty m a bench trial she noticed the victims family members in the courtroom gallery yelling and
screaming a_t Deputies assigned to the courtroom, she also stated that she saw the cousin of the victim now identified as

 

 

 

_(Cso/cA/o4_5) _ 4 ` C¢S aO 0 0 1 24

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B4R40WN,A141twa‘nd, resisting Dep4uty Woods as Deputy Woods instructed him to get on the ground S44he stated she saw ' `

BROWN and Deputy Woo_ds and_ another M/W Deputy 111 the courtroom and BROWN hitting _b_oth Deputies 111 the face
and chest arm CONTINUED --_-- 9 _

 

 

 

Original CR Numbe\":

08¢512934

 

 

 

(CsD/GA/o4-5) 4 _ v CCS 60 0 0 1 2 5

 

Case:1:1_O-c\/- 02953 D_ocument #: 51- 2 Filed:10/21/11 Page 7 of 12 Page|D #: 194

4 On 28 May 08 at approx 1810 hrs R/Sgt. interviewed Circuit Court Judge Nicholas Ford via phone who ~ '
` "advise,d me of the following information 111 summary and not verbatim. Judge Ford stated that after his finding
of not guilty he w_ent back into his chambers and heard people yelling 111 the courtroom When he came back
into the courtroom he saw a M/B subject wearing a blue tee shirt now known as BROWN, Antwand fighting
with Deputy W_ood_s and Deputy Ramos, resisting them and not listening to their commands Judge F ord stated
*' he saw D/S W-ood_s and Ramos along with BROWN enter the courtroom; BROWN was actively resisting the
` deputies and hitting them Judge Ford saw BROWN hit both Dep_utie-s several times
` On 28 May 08 at approx 1840 hrs R/Sgt. interviewed D/S Tawanda Wilson_ # 3755 who advised me of the -
' following information 1n summary and not verbatim D/S Wilson stated that she responded to courtroom 307
" because of a security call, she arrived 1n the rear of the courtroom, entered and sat in the jury box of the .
courtroom At this time there was a finding of not guilty 1n a murder bench trial and one M/B subject with a
blue tee shirt now known as BROWN, Antwand and one M/B subject with a black headed sweats_hirt and
. cornrows now known as BROWN, Lionel jumped up and stated “Fuck this shit” at which time she stated she
escorted the defendant SAMUELS back to the lock up in the rear of the courtroom. When she came back into
- the courtroom she was with S gt Morton and the people were in the gallery and still screaming and yelling at the
v Deputies. She said she saw BROWN, Antwand hit D/S Woods 1n the chest to get him out of the way,- she saw
` - _D/S Woods' grab BROWN, Antwand by the arm. At this time BROWN, Antwand struck D/S Woods 1n the face.
D/S Woods attempted to handcuff BROWN, Antwand who was still resisting and striking D/S Woods. D/S
` Ramos attempted to assist D/S Woods. D/_S Ramos was struck 111 the face by BROWN, Antwand As both D/S '
` Woods and Rarnos were attempting to handcuff BROWN, Antwand, they then fell into the courtroom She
stated that during this time D/S\ Quinlan was still 111 the gallery of courtroom 307 when she saw a F/B now b
known as CLAY, Marsha and another F/B with D/S Quinlan. At this time, she saw CLAY, M'arsha strike D/S
~` Quinlan 111 the neck and head area several times
On 28 May 08 at approx 2030 hrs R/Sgt. interviewed JACKSON, Laburron M/B DOB 15 S_ep._t 84 who ,
v advised m_e' of the following information 111 summary and not verbatim after being advised of his Miranda rights
f from a pre-printed form. He stated that there was a verbal argument between BROWN Antwand and a M/B
' Deputy, and that the M/B Deputy and a M/B Sgt informed them that the victim’ s family had to wait in the
;` courtroom until the defendant’ s family left the building He said that his family members were standing up and _
_ i that BROWN, Lionel stated, “He was ready to go_ "’ He stated that CLAY, Marsha hit her son BROWN,
_-- Antwand 111 the face and told him to “shut up. " At this time BROWN, Antwand attempted to leave the
. _ courtroom and the M/B Deputy told him to sit down but Antwand still went toward the door. The M/B Deputy
` attempted to handcuff him and Antwand did resist him. He said Antwand said, “Why you are cuffing me?” At '
; this time, a M/W Deputy assisted the M/B Deputy 111 handcuffing Antwand and they all struggled into the
' courtroom where Antwand was still resisting He said h_e saw the Iudge come into the courtroom towards the
Deputies He said he heard the Iudge say, “Stop your foolishness or l will put you away for a long time ” At
this time, he said he saw a lot of police enter the courtroom and he was told to put his hands on the wall
JACKSON stated he did not see any Deputy hit anyone and did not see Antwand hit anyone, just resist. On 29
` May 08 at 0030 hrs Det Plybon charged JACKSON, Laburron with one count of Resisting a Peace Officer and `
assigned an 11 June 08 court date 111 Branch 43. JACKSON, Laburron was given an l Bond and was released
with his property
On 28 May 08 at approx 1900 hrs R/Sgt interviewed SCALES, Danielle F/B DOB 24 OCT 87 who stated
.- the following information 11_1 summary and not verbatim after being advised of her Miranda rights from a pre-
printed form. She stated that she was the fiancee of the victim in the murder case and that after the finding 111 the
case that BROWN, Antwand and an M/B Deputy were arguing She stated that the M/B Deputy told everyone
'. to sit down and they could not leave. She stated that Antwand was sitting next to her and they were just talking
She stated that Antwand got up and the M/B Deputy dragged him into the courtroom. She stated she did not see
anyone get hit. She stated she hurt her right upper leg Per Lt Lyons #76 Scales was released Without charging -
after she Was going to the hospital for chest pains

 

 

 

CONT[NUED _______________ 9

 

(CSD/GA/04-S) . , 7 ccsao 0 0 1 26

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' ` _ _ . ' ' ongmaxcnuumbqr '
‘ ' ~ - ‘ 08_-_512934

 

 

 

' 011 29 May 08 at appro)_c 0200 hrs _R/Sgt along with ASA Mau`reen R_enno went to Cook Count_y _Hospita`l to
4 z interview CLAY, Marsha who Was in the hospital for a fracture to her right tibul_a and was scheduled for '
surgery later that day ASA R_enno interviewed her 111 room 1065 1n R)ngt’ s presence.- ASA Ren_no documented
this conversation _ 4
. 011 29 May 08 R/Sgt. contacted the Sta`te~’ s Attomey‘ s O.thce Felony Review' Unit and advised them that this
' case was continued from the previous day, after wh1ch R/Sgt. was advised that an ASA would contact me.
.. R/S gt Was contacted by ASA Joe Lattanzio and met with him at the Criminal Cour_thouse at l(_}45hrs. ARer _
.. ASA Lattanzio spoke with witnesses and after reviewing the case ASA Lattanzio approved felony charges ot`
' Aggcavated Battery to a Police Othcer of two counts for BROWN and one count for CLAY . ' '
1 _On 30 May 08 R/Sgt along with Inv Lesiak reported to Cook County Hospital to finger print CLAY, Marsha
- ' who was out of surgery, and_ was issued a hospital 111-itt by the bond court judge ’ . `

THIS cAs_E Is cLEARED BY ARREST AND cLosED

 

 

(csD/cA/o4-s) - ~ ` CCSaG 0012_7

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EXhibit 3 w

. e: 1:10-Cv-02953 Documen't #: 51-2 Filed: 10/21/11 Page 10 of 12 Page|D,#:197
; _,,_,» y° ` SHERIFF OF CQOK COUNTY `

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

7 COURT SERVICES DEPARTMENT
' ` . ` OFFENSE/IN_CIDENT
* ` ` SUPPLEMENTAL REPO-RT
v ’ ‘ voriginal ca Number.
2008-512984 _ _
Original Off¢ns¢./Incid¢nr Clvssifi¢ati<mr ` - - original ucR cod¢;_ original PAC code
Ot_her Miscellaneous Incident . _ , . _ 1280 - , 9001
Rec|assificd as (if'a'pp|icabl`e); ' - _ Qriginal R'eporting OEieer. ' . ' Star_No:
Aggravated B'attery " ' . _ ` D/S Woods v _ 34_71
, ` g _ _ sUPPLEMENrAL REPORT iNFoRMA'rI_oN _

' Ofti<_:er Comp|eting Supplenicnta| Report;DCf. C. P_lybOn #253 ~ COQk COllttty Sh¢rifi’§ POliCC ' SmiNo: 253
Da£e 8upplcment_al Co'mp|ded: y ' - Timc Suppleméntal Completed: PAC Code: ` _ d - 'Bcatot`Occurrencc:
5 ._Iune 08 1000 hours - 2002] , 999

D ' Nan'ative (Continued from original) _ . ® Witnes's Statcment ~
l:l Court Appcarance (OHi'cer Notiflcation) E Victim Statement
I:] Cou`tt Appearance (Oflicer Repoxt) [] Other.

 

 

_‘;'THIS IS A{ CRIM'INAL INTELLEGENCE UNIT PRoGRE_s-s RE-PORT

n On 28 May 08 at 1620 hours'R/Det and Sgt D_illon #171 responded to the Criminal Courts Building, 2650 S. 4
California Ave, Chgo, II 60608 to investigate an Aggravated Battery that took-place in courtroom #307. R/Det conducted
the` following interviews in summary and not verbatim . ~ " '

' O.n 28 .May 08 at l645.hours R/Det interviewed Cook C_ounty $tate’s'Attomey Law Clerk ANDR_E.W MUELLER,
2650 S. Califomia Ave, Chgo, II 60608, TX. 773-230-03 76, Who related he was present in courtroom #307, 'on 28 'May

08, when the following incident took place. Judge Ford rendered a not guilty verdict on a~defen__dant,th`at on trial. The

court went in to recess and Muelle`r began hearing a loud commotion corning from a group of individuals in the gallery

area. Mu_eller then observed several deputies attempting to prevent an unknown male, black (noW known as yBrown,

1 Antwand) from leaving the courtroom. Moments` later Brown and deputies were physically lighting Mueller related the

deputies were trying to restrain the subject when the deputies and_the subject entered the courtroom. Two deputies were

` able to grab Brown at which time they fell over a table in the courtroom.. T-he two deputies were then able to handcuff
and restrain Brown without further incident. ' ` `-

On 28 May 08.'at 1650 hours R/Det interviewed Cook County State’s Attomey Law Clerk CHRISTINA

. MORRISON, 2650 S. Califomia Ave, Chgo, II 60608, TX. 847-3 70-3 834, who related she was present in courtroom
#307, on 28 May 08_, when the following incident took place. Judge Ford rendered a not guilty verdict on a defendant
that was on trial_. The court Went in to recess and Morrison began hearing‘a_ loud commotion coming from a group of b
individuals in the gallery area.. Morrison observed a male, black subject, (now known as Brown, Antwand).push deputies
into the courtroom and fell over a table. The two deputies were able to handcuff Brown without further incident.'

On 28 May 08 at 1733 hours 'R/Det interviewed the offender ANTWAND BROWN, M/B'DOB 4‘-4-78,_'I`X.573-'338-
4969, who related the following after being read his Miranda Rights. Brown, A. related that he Was present in courtroom
#307§ on 28 May 0'8, When the judge gave a not guilty ruling regarding a murdered family r_n.ember. Bown, A. related he
' _' stood up and,that several deputies were preventing him from leaving the 'courtroom. Brown, A. related that there Were_-
about four'or_ five officers in the room along with a' supervisor. Brown, A.. again attempted to leave when a male, black_
deputy (D/S Woods #3471) instructed him to sit:down. A few other family members wanted to leave the room and began
congregating near the doorway.-~Brown,- ;A`. related that a male, Wh`rte deputy (D!S Rames #2058) grabbed his left arm at
which time Brown broke free from the grab.' Ramos then tried to grab Browns’ again a_t which time he stood on the seats. ‘
Woods then grabbed Brown, A. and pulled him into the courtroom. Brown, A. related that the three began to»struggle
once inside the courtroom and soon fell over a table. Brown, A. was then handcuffed and transported to the lock-up

COntinued ____________________ =)

 

 

 

(Cso/oA/o+s) ` 1 ' _ . , _ . 4 ccs ao 0 0 1 4 0

 

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located behind the courtroom. Brown,'A. related he did struggle with deputies and did not listen to orders given by
deputies 7

On'2»8 May 08 at 1820 hours R/Det interviewed D/S JERE_MY TUCKER #4574,- 2650 S. Califomia Ave, Chgo, Il,
60608, _7734869~32_75; who related on 28May 08 at 1600 hours he responded to courtroom #3 07 for an all-available

. response he heard on the radio. Upon arrival Tucker observed three female blacks in the courtroom yell-ing at deputies
'I_`ucker had the three female subjects place their'h`ands on the wal_l. Tucker related that one of the subjects (Clay, Marsha)_
f was refusing to comply as instructed and became argumentative. Tucker along with D/S Wilson handcuffed the Clay
without further incident Tucker related he then assisted in securing the scene. Tucker injured his right index finger

_ during the incident'however no medical_`tl:eatrn'ent was required. " - ' - "' ' ' ' ’ ' ~ ' 4 ` '

0n 28 May _08 at 1830 hours R/Det spoke to D/S LYNETI`E FLOWERS # 4434, 2650 S. Califomia Ave, Chgo, Il, ' b
60608, 773-869-3275, who related she was present in courtroom #307, on 28 May 08, when the following incident took '
place. _Flowers related that a group'of family members located in the gallery area began yelling at deputies after Judge
Ford rendered_a non-guilty verdict Th`e family members were asked to remain seated'and quiet. Flowers observed two
male, black subjects becoming more agitated and refusing to.comply with verbal orders given by deputies._Flowers then
' observed one male subject (now known as Antwand Brown)`frghti_ng with D/S Woods and D/S Ramos in the gallery.
Flowers did not observe how the tight started.-Moments. later Brown, D/S Woods and D/S Ramos entered the courtroom
and fell over a table. Brown- was then handcuffed Nurnerou`s other family members in the gallery began yelling at the
deputies and refusing to comply with.instruc‘tions. Flowers entered the gallery and escorted tw_o unknown female, black
subjects.out o_f the courtroom. Flowers related that sh`e`did not observe anyone get struck`no`r did she sustain any injuries
. during the incident ~ ` ' ` ` y ~ '

On 28' May 08 at 1837 hours R/Det interviewed the offender LI_C_|NEL BROWN, M/B, DOB 1-19'~8`1, TX. 773-706-
2680 _(cell), Who_ related the following after being read his Miranda Right_s.-Brown,~L. related that he was present in
courtroom #307,_ on 28 May 08, when the judge gave a not guilty ruling_rega_rding a.murdered family member.Brown, L
related that there were three or_four deputies in the gallery area prior to the tight taking place. The defendant’s family
was escorted out ofthe courtroom Brown, L. Wanted to leave the room when ordered to remain seated by-a male, black
deputy (D/S Woods). Brown, L. related his brother Brown, A. stood up and stated, “ I_want to leave the courtroom” at
which time’a female deputy Sergeant told them you cannot leave. Brown, L. then observed Brown, A. struggling with
two_male-.deputies in the gallery. Numerous deputies began entering the gallery and instructing everyone to calr'n down
_ and lay 'on the ground. The-deputies began grabbing`h_is.family members and placing them in handcuffs Brown, l. was
then transported to the security office without furtherincident. Brown," L. does not know how_ the fight started who
started the fight_.' On 29 May 08_ at 0030 hours R/Det charged Brown, L. with one "count of misdemeanor Resisting a
Peace Offlcer and assigned an 1 l June 08-court date in Branch 443,~3150 W. Flournoy, Chgo, Il. Brown, L. was given an
Individual Recognizance bond as was released from custody with his‘property. * .

On 28 May 08 at 1930 hours R/Det interviewed Deputy Sergeant MONICA MOR'I`ON' #246, 2650 S. Califomia Ave,
.Chgo, Il, 60608,_ 773-869-3275, who related she was present in courtroom #307, on 28 May 08, when the following
incident took place. Morton related a male, black subject (now known as Brown, Antwand) become verbally aggressive
~with deputies after Judge Ford rendered a not guilty verdict The Brown, A.' stated he wanted to leave the courtroom at
which time he was instructed to remain seated and ca_lm down. Brown, A. did not comply and began walking towards the
door. Brown,_ A. then approached‘D/S 'Woods and swung his right arm, striking Woods in the chest. Woods then
attempted to grab Brown, A. at which time a physical confrontation took place. Woods and D/S Ramos attempted to
handcuff Brown,'A. unsuccessfully Brown, Ai continued#to{ resist when all three entered the courtroom and fell over a
`. table.' Brown, A. was then handcuffed and transported to the lock-up behind the courtroom Morton did not`_observe any
additional deputies get injured or struck in the fight. Morton further related that numerous family members became very
unruly and were yelling_at the_ deputies Numero.us family members were handcuffed and transported to the security
' office for further investigation Peace Was finally restored in the courtroom and Morton related three deputies (Quinlan,

Ramos and As`tacio) had to be transported to Mt. Sinai 'Hospital for medical treatment ` . '

4 on 28 May 08 -ar 1940 hours R/Der interviewed D/s william Woods # 3471, 2650 s. Califomia Ave, Chgo, Il,
, 60608, 77_3'-869--3275', who related he was present in courtroom #3 07, on 28 May 08, when the following incident took

 

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' p`lace. Woods related he w_as_assigned to the security detail and was present when Judge Ford_ rendered a not guilty
verdict. D/S’ s Quinlan, 'Rostkowski, Merriweather, Ramos and Sgt Morton were also present Woods related that the
defendant’s family was allowed to leave the courtroom first and the victim’ s family was asked to remain in the ` _
courtroom. Woods then observed a male, black (now known as Brown, A. ) leave his seat and immediately became
verbally aggressive with deputies on scene. Woods related that Brown, A. wanted to leave the courtroom and would not
comply with verbal orders to_ remain seated until instructed to leave. Brown, A. and another male, black subject (now
known as Brown, L ) stood up and approached the door. Brown, A became physically combative and pushed Woods 1n-
the chest_. Ramos immediately grabbed Brown, A by the ann at which time he broke free from the hold. Brown,- A then
approached Woods and punched him 1n the chest with a closed right tist. Woods and Ramos grabbed Brown, A. and all
three (Brown, Woods and Ramos) entered into the courtroom and fell over a table ‘I'he physical struggle to secure
Brown, A. continued until he was handcuffed Brown, A. was then transported to `the security office for further
investigation Woods does wish to sign criminal complaints -

 

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Det. C. Plybon #253 .

Reporting Off\ccr’s Name (print):#

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253

4 Date:

5 June 08v

 

Supervisor's Narne (print): 4

 

 

` 7 Supervisor’s Signature:

 

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